     Case 1:15-cv-07433-LAP Document 1039 Filed 03/30/20 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

                    Plaintiff,
                                           No. 15 Civ. 7433 (LAP)
-against-
                                                     ORDER
GHISLAINE MAXWELL,

                    Defendant.



LORETTA A. PRESKA, Senior United States District Judge:

The Court is in receipt of the parties’ letters in response to

the Court’s March 19, 2020 order on the procedures to be

utilized in the unsealing process.      (See dkt. nos. 1037, 1038.)

The parties shall confer and shall file on the public docket a

dial-in number for a teleconference to take place on March 31,

2020 at 1:00 PM.

SO ORDERED.

Dated:      New York, New York
            March 30, 2020

                           __________________________________
                           LORETTA A. PRESKA
                           Senior United States District Judge




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